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Revised 4/11/2011


                                         MINUTES OF CRIMINAL PROCEEDINGS
                                           UNITED STATES DISTRICT COURT
                                            NORTHERN DISTRICT OF OHIO


            UNITED STATES OF AMERICA                                                    Date: 2/6/2017
                                                                                        Case No. 1:15cr275
                                vs.                                                     Judge: Dan Aaron Polster
                                                                                        Court Reporter: Susan Trischan
             John Clements
            __________________________________________________                          Pts/Prob Officer:
                                                                                        Interpreter:
                                                                                        Date of Arrest:

U.S. Attorney:                              Michael A. Sullivan

                                           Ian Friedman
Attorney for Defendant(s):                                                              CJA Apt:
                                                                                        Fed. Defender:
                                                                                        Retained:


ARRAIGNMENT:
Defendant arraigned, plea of ____ GUILTY _____ NOT GUILTY ____ NOLO CONTENDERE entered as to count(s) __________
________________________________ of the ___ Indictment ___ Information.

CHANGE OF PLEA:
Defendant Plea of NOT GUILTY withdrawn, plea of                                                       1
                                                _ GUILTY ____ NOLO CONTENDERE entered as to count(s) __________
________________________________ of the _ Indictment _ Information.

_____       Plea agreement executed.
_ _         The Court adopts the R&R of the Magistrate Judge and finds there is a factual basis for the acceptance of the guilty plea.
_ _         Bond $_______________________ ____ set _ _ continued _ _ detention _ _ remanded to the custody of U.S. Marshal.
_ _         Motion of government for detention pending trial. Detention Hearing set for:______________________________________.
_ _         Defendant referred to the Probation Office for Pre-sentence Investigation.
_ _         Jury Trial scheduled for:_____________________________________
_ _         Pretrial Conference scheduled for:_____________________________
_ _                                    5/22/2017 at 12 00 p.m.
            Sentencing scheduled for:____________________________________

SENTENCE:
Defendant committed to the custody of the Bureau of Prisons for a period of months on count(s)
of the _ _Indictment _ _Information to run _ _ concurrent _ _consecutively.

Period of                years of supervised release with standard/special conditions as ordered (see reverse side of form).

Fined the sum of $                              Fine Waived
Restitution in the amount of $____________________ Payable to: ____________________________________.                         _ Not Ordered.

I.S.S., Probation ordered for a period of         months _______years on count(s)
__ _Indictment __ _Information with standard/special conditions as ordered (see reverse side of form).

The defendant is to pay a special assessment of $                on counts              . Total $                        .

Upon motion of U.S. Attorney, counts(s)                                        of the Indictment/Information are hereby dismissed.

The execution of the sentence of imprisonment is deferred and the bond continued until _______________, at which time the defendant
shall surrender to the United States Marshal for this district, or the designated institution.

_    _ Bond is revoked and the defendant is remanded to the custody of the U.S. Marshal.
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 STANDARD AND SPECIAL CONDITIONS OF SUPERVISED RELEASE/PROBATION

    The defendant shall not commit another federal, state or local crime, shall not illegally possess a controlled substance, shall comply with the
    standard conditions that have been adopted by this court, and shall comply with any additional conditions.

    The defendant shall refrain from unlawful use of a controlled substance and submit to one drug test within 15 days of the commencement of
    supervision and to at least two periodic drug tests thereafter, as determined by the pretrial services and probation officer.

    The defendant shall participate in an approved program of outpatient, inpatient or detoxification substance abuse treatment, which will include drug
    and alcohol testing to determine if the defendant has reverted to substance abuse.

    The defendant shall not possess a firearm, destructive device or any dangerous weapon.
    The defendant shall provide the probation office access to any requested financial information.
    The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation officer.
    Financial Windfall Condition.
    Gambling Condition.
    The defendant shall enter an adult program and work toward a Certificate of General Educational Development (GED).
    Special Employment. The defendant shall comply with the Offender Employment Policy which may include participation in training, counseling,
    and/or daily job search as directed by the pretrial services and probation officer.

    The defendant shall participate in the Location Monitoring Program for a period of            months, to commence no later than 30 calendar days
    from sentencing.

    Search and Seizure. The defendant shall submit his/her person, residence, place of business, computer, or vehicle to a warrantless search, conducted
    and controlled by the U.S. Probation Officer.
    Sex Offender Registration and Notification Act (Adam Walsh Act)
    Mental Health Treatment. The defendant shall participate in an outpatient mental health treatment program.
    Cognitive Behavioral Program.
    Community Service. The defendant shall perform           hours of community service as directed by the probation officer.
    Gang. The defendant shall not associate with any members of a gang or threat group as directed by the probation officer.

    Deportation. The defendant shall surrender to the Bureau of Immigration and Customs Enforcement, U.S. Department of Homeland Security for
    deportation, and shall not illegally re-enter or remain in the United States.

    DNA Collection.
    Denial of Federal Benefits.
    Sex Offender.
    Computer/Internet. Total Prohibition on Access to a Computer Internet.
    Computer/Internet Restricted.
    Computer/Internet Access Permitted. The defendant shall abide by all rules of the Computer Restriction and Monitoring Program.
    Computer Search Only.
    Computer Employment Restriction.
    Recommendation to the Bureau of Prisons:
    The defendant is granted credit for time already served in relation to this matter.
    The defendant advised of his/her appeal rights.
    No Contact with Minors.


COMMENTS:




                                                                                                   s/ Katherine King
